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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division



 INDYNE,INC.,

         Plaintiff,
                                                   )
                                                       l:18-cv-756(LMB/MSN)
                                                   )
  BEACON OCCUPATIONAL
 HEALTH & SAFETY SERVICES,
 INC.,

         Defendant.


                                  MEMORANDUM OPINION


     Before the Court is plaintiffInDyne, Inc.'s Motion for Summary Judgment[Dkt. No. 10]

 and defendant Beacon Occupational Health & Safety Services, Inc.'s Motion for Extension of

 Time to Complete Discovery [Dkt. No. 15]. For the reasons that follow, plaintiffs Motion for

 Summary Judgment will be granted and defendant's Motion for Extension of Time to Complete

 Discovery will be denied.

                                       1. BACKGROUND


        In this declaratory judgment action, plaintiff InDyne, Inc.("plaintiff' or "InDyne") has

 moved for summaryjudgment, arguing that the Teaming Agreement between itself and its

 potential subcontractor, defendant Beacon Occupational Health & Safety Services, Inc.

("defendant" or "Beacon"), is unenforceable. Plaintiffs Memorandum in Support ofits Motion

for Summary Judgment("Plaintiffs Memo")[Dkt. No. 11]. Defendant responds that the Court

 should either deny summary judgment or defer consideration of plaintiffs motion until discovery

 can be completed. Defendant's Motion for Extension of Time to Complete Discovery

("Defendant's Motion")[Dkt. No. 15].
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